                                                               United States Bankruptcy Court
                                                               Western District of New York
In re:                                                                                                                 Case No. 20-10322-CLB
The Diocese of Buffalo, N.Y.                                                                                           Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0209-1                                                  User: admin                                                                 Page 1 of 26
Date Rcvd: Jul 07, 2023                                               Form ID: ntcentry                                                          Total Noticed: 7
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 09, 2023:
Recip ID                   Recipient Name and Address
db                     +   The Diocese of Buffalo, N.Y., 795 Main Street, Buffalo, NY 14203-1215
aty                    +   Gleichenhaus, Marchese & Weishaar, PC, 43 Court Street, Suite 930, Buffalo, NY 14202-3100
aty                    +   Pachulski Stang Ziehl & Jones LLP, 780 Third Avenue, 34th Floor, New York, NY 10017-2024
op                     +   Blank Rome, LLP, 1825 Eye Street NW, Washington, DC 20006-5403
pr                     +   Charles Mendolera, c/o The Diocese of Buffalo, N.Y., 795 Main Street, Buffalo, NY 14203-1215
ntcapr                 +   Official Committee of Unsecured Creditors, c/o Pachulski Stang Ziehl & Jones LLP, Attn: J. Stang, I. Scharf, S. Golden, 780 Third
                           Avenue, 34th Floor, New York, NY 10017-2024

TOTAL: 6

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
smg                    + Email/Text: ustpregion02.bu.ecf@usdoj.gov
                                                                                        Jul 07 2023 18:28:00      Office of the U.S. Trustee, 300 Pearl Street, Suite
                                                                                                                  401, Olympic Towers, Buffalo, NY 14202-2523

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 09, 2023                                            Signature:           /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 7, 2023 at the address(es) listed below:
Name                               Email Address
Adam Ross Durst
                                   on behalf of Defendant Employers Insurance Company of Wausau (f/k/a Employers Insurance of Wausau A Mutual Company
                                   f/k/a Employers Mutual Liability Insurance Company of Wisconsin) adurst@goldbergsegalla.com




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                          on behalf of Defendant Nationwide Insurance Company of America adurst@goldbergsegalla.com

Adam Ross Durst
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Adam Ross Durst
                          on behalf of Notice of Appearance Creditor Employers Insurance Company of Wausau (formerly known as Employers Insurance
                          of Wausau A Mutual Company formerly known as Employers Mutual Liability Insurance Company of Wisconsin)
                          adurst@goldbergsegalla.com

Adam Ross Durst
                          on behalf of Cross Defendant Wausau Underwriters Insurance Company adurst@goldbergsegalla.com

Adam Ross Durst
                          on behalf of Defendant Employers Insurance Company of Wausau (formally known as Employers Insurance of Wausau A Mutual
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Adam Ross Durst
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Brian Jacob Butler



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                          on behalf of Plaintiff St. Thomas Aquinas Roman Catholic Church Society of Buffalo tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Holy Apostles Peter and Paul Roman Catholic Church Society of Buffalo N.Y. n/k/a St. Clare Roman
                          Catholic Church Society Buffalo, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Holy Name of Jesus Roman Catholic Church tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Columbas Roman Catholic Church Society of Buffalo N.Y. n/k/a Sts. Columba-Brigid Roman Catholic
                          Church of Buffalo, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Sacred Heart of Jesus Roman Catholic Church Society of N. Collins NY tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Anthonys Roman Catholic Church Society of Batavia N.Y. n/k/a Ascension Roman Catholic Parish of
                          Batavia, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Brigids Roman Catholic Church Society Inc. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com




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Date Rcvd: Jul 07, 2023                                     Form ID: ntcentry                                                          Total Noticed: 7
Timothy Patrick Lyster
                          on behalf of Plaintiff Our Lady of Mt. Carmel Roman Catholic Church Society of Brant New York n/k/a Saint Anthonys Roman
                          Catholic Church Society of Farnham, New York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Marys Roman Catholic Church Society of Swormville tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Florians Roman Catholic Church Society of Buffalo N.Y. n/k/a All Saints Roman Catholic Church
                          Society of Buffalo tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Pauls Roman Catholic Church Society of Kenmore tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Queen of Martyrs Roman Catholic Church Society of Cheektowaga New York tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Joseph Roman Catholic Church Society of Lyndonville N.Y. n/k/a Our Lady of the Lake Roman
                          Catholic Parish of Barker and Lyndonville, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Helens Church n/k/a St. Johns Roman Catholic Church Society of Olean N.Y tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Trevor Prince, Jr
                          on behalf of Interested Party Sisters of Good Shepherd and the Roman Catholic Religious Institute of the Religious of the Good
                          Shepherd tprince@archerlaw.com

William Carson
                          on behalf of Interested Party American Guarantee and Liability Insurance Company wcarson@steptoe.com

William Carson
                          on behalf of Interested Party Zurich American Insurance Company wcarson@steptoe.com

William Carson
                          on behalf of Interested Party Providence Washington Insurance Company wcarson@steptoe.com

William Carson
                          on behalf of Defendant Zurich American Insurance Company wcarson@steptoe.com

William Carson
                          on behalf of Defendant Providence Washington Insurance Company wcarson@steptoe.com

William Corbett, Jr
                          on behalf of Interested Party Selective Insurance Company of New York wcorbett@cmg.law

William Corbett, Jr
                          on behalf of Defendant Selective Insurance Company of America (formerly known as Exchange Mutual Insurance Company)
                          wcorbett@coughlinduffy.com

William Henry Gordon
                          on behalf of Creditor Richard Brownell wgordon@garabedianlaw.com

William Henry Gordon
                          on behalf of Creditor Wayne Bortle wgordon@garabedianlaw.com

William Henry Gordon
                          on behalf of Creditor Gail Holler-Kennedy wgordon@garabedianlaw.com

William Henry Gordon
                          on behalf of Creditor Carolyn Anderson wgordon@garabedianlaw.com


TOTAL: 569




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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In Re:                                                  Case No.: 1−20−10322−CLB
                                                        Chapter: 11
         The Diocese of Buffalo, N.Y.
                                                        Tax ID: 16−0743984
                           Debtor(s)


                                        NOTICE OF ENTRY

    PLEASE TAKE NOTICE of the entry of the Order referenced below, duly entered in
the within action in the Clerk's Office of the United States Bankruptcy Court, Western District
of New York on July 7, 2023. The Clerk of Court of the United States Bankruptcy Court,
Western District of New York, hereby certifies that a copy of the subject Order was sent to all
parties in interest herein as required by the Bankruptcy Code and the Federal Rules of
Bankruptcy Procedure.

Docket              Order Granting Sixth Application For Interim Compensation and
#2415:              Reimbursement of Expenses for Blank Rome, LLP, as Special Insurance
                    Counsel for The Diocese, fees awarded: $124,918.75, expenses awarded:
                    $1,528.43. (RE: related doc(s) 2001 Application for Compensation). Signed
                    on 7/7/2023. NOTICE OF ENTRY. (Nieves, J.)

Date: July 7, 2023                                     Lisa Bertino Beaser
                                                       Clerk of Court

Form ntcentry/Doc 2415
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